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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

BRENDA STEWART,                               )
                                              )
         Plaintiff,                           )
                                              )
vs.                                           )      Case No.
                                              )
I.C. SYSTEM, INC.,                            )
                                              )
         Defendant.                           )

                                    NOTICE OF REMOVAL

         Defendant I.C. System, Inc. (“ICS” or “Defendant”) hereby files its Notice of Removal of

the above-captioned case to this Court and, and in support of removal, respectfully states as

follows:

         1.      ICS is named as defendant in Civil Action No. 13SL-AC00151 filed in the Circuit

Court of St. Louis County, Missouri, styled Brenda Stewart v. I.C. System, Inc. (the “State Court

Action”).

         2.      The Petition in the State Court Action was filed with the Clerk of the Circuit

Court of St. Louis County on or about January 2, 2013. Pursuant to 28 U.S.C. § 1446(a), copies

of all process, pleadings and orders served upon Defendant in the State Court Action are attached

hereto as Exhibit A.

         3.      In the State Court Action, Plaintiff alleges that Defendant violated federal

statutes, the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”) and the

Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”).

         4.      Any civil action is removable if the plaintiff could have originally brought the

action in federal court. See 28 U.S.C. § 1441(a).



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        5.      Under 28 U.S.C. § 1331 this Court has original federal question jurisdiction over

Plaintiff’s FDCPA and TCPA claims.

        6.      Accordingly, pursuant to 28 U.S.C. § 1441(a), Defendant has the right to remove

the State Court Action to this Court, without regard to the citizenship or residency of the parties

or the amount in controversy.

        7.      Defendant was formally served with the Summons and Petition on January 30,

2013. This removal is therefore timely pursuant to 28 U.S.C. § 1446(b).

        8.      By this Notice of Removal, Defendant does not waive any defense, jurisdictional

or otherwise, which it may possess. Defendant also does not concede that Plaintiff has stated a

claim against it.

        WHEREFORE, in accordance with the authorities set forth above, Defendant hereby

removes this action from the Circuit Court of St. Louis, County, Missouri, to the United States

District Court for the Eastern District of Missouri.

        DATED this 1st day of March, 2013.

                                                  Respectfully submitted,
                                                  SPENCER FANE BRITT & BROWNE LLP

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                                 CERTIFICATE OF SERVICE
       I hereby certify that the foregoing document was filed electronically with the United
States District Court for the Eastern District of Missouri, Eastern Division, this 1st day of March,
2013, with a true copy mailed, first class postage prepaid, to:
       James W. Eason
       Richard A. Voytas
       Eason & Voytas, LLC
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       St. Louis, MO 63108
       Attorneys for Plaintiff
                                                  /s/ Joshua C. Dickinson




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